             Case 1:17-cr-00119-NLH Document 45 Filed 04/27/20 Page 1 of 2 PageID: 140
                                                   FEDERAL PUBLIC DEFENDER
                                                    DISTRICT OF NEW JERSEY
                                                           800-840 Cooper Street
 RICHARD COUGHLIN                                                Suite 350                                                 CHESTER M. KELLER
FEDERAL PUBLIC DEFENDER                                  Camden, New Jersey 08102                                            FIRST ASSISTANT


                                                        (856) 757-5341 Telephone
                                                        (856) 757-5273 Facsimile


                                                                April 27, 2020


           Honorable Noel L. Hillman
           United States District Judge
           Mitchell H. Cohen Federal Courthouse
           One John F. Gerry Plaza
           Fourth and Cooper Streets
           Camden, New Jersey 08101

                           Re:        United States v. Santos Colon
                                      Criminal No. 17-119 (NLH)

           Dear Judge Hillman:

                  As discussed at the most recent status conference, Mr. Colon’s treatment

           team at Community Treatment Solutions recommended that he be favorably

           discharged from the treatment program and that he be allowed to return home to

           reside with his family and continue treatment as directed by Pretrial Services. In

           the weeks that followed, the declaration of a public health emergency occurred and

           Mr. Colon with the approval of Pretrial services and under the direction of his

           treatment team, relocated to his home. He has remained with his family and is in

           compliance with the conditions of release. Due to the change of address and

           treatment, however, it is respectfully requested that an Amended Order of Release

           be entered to formalize the changed circumstances. A proposed Amended Order of
                          ___________________________________________________________________________________

                                           1002 Broad Street, Newark, New Jersey 07102 (973) 645-6347

                            22 South Clinton Avenue, Station Plaza 4, 4th Floor Trenton, New Jersey 08609 (609) 989-2160
  Case 1:17-cr-00119-NLH Document 45 Filed 04/27/20 Page 2 of 2 PageID: 141




Release has been reviewed by both the United States, Patrick C. Askin, Assistant

United States Attorney, and Pretrial Services, and neither has any objection to the

proposed Amended Order. A copy is attached for the Court’s consideration.

      Thank you for your consideration in this matter.

                                             Respectfully,




                                             RICHARD COUGHLIN
                                             Federal Public Defender

cc:   Patrick C. Askin, AUSA
      Gary Pettiford, USPO
      Santos Colon
